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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

LOGISTIC NATIONAL
SOLUTIONS LLC d/b/a LOG                       CASE NO.:
NATION, a Florida Limited
Liability Company,

     Plaintiff,

v.

SELECTIVE BARRON, LLC, a
Florida Limited Liability Company
and NATHAN BARRON, individually,

     Defendants.
                                        /




                        EXHIBIT C
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